Frederick- Joseph: Guenther,

104 South Oak Street

P.O. Box 283

NEVADA, MISSOURI Territory
MISSOURI State Republic [64772-9998]

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AFFIDAVIT OF

  

 

LAWFUL/LEGAL NOTICE OF REMOVAL
FROM CIRCUIT COURT TO FEDERAL COURT
PURSUANT TO TITLE 28 § 1441- §1446
PROPER ARTICLE III JURISDICTION
(State Court Ousted from Jurisdiction Remove from Docket)

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Plaintiff(s),

IN THE COURT OF 28" JUDICIAL CIRCUIT

VERNON COUNTY, MISSOURI

STATE OF MISSOURI

100 WEST CHERRY STREET

NEVADA, MISSOURI 64772

— STEPKANME we Mimaked
Removed 28" Circuit Case# 19VE-CV0046]
ORIGINAL JURISDICTION

v.
Federal Question(s):
Constitution, Treaty;
Religious Liberty;
Due Process;

ol P | aint tie Supreme Court Rulings

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I- Federick- Joseph: Guenther :, Natural Person, In Propria Persona:
Ex Relatione FEDERICK JOSEPH GUENTHER.: All Rights Reserved:
U.C.C. 1-207/ 1-308; U.C.C. 1-103

Not a Corporate Person or Entity, Misrepresented by Fraudulent Construct of ALL CAPITAL LETTERS
Non-Domestic

A Natural Person, In Propria Persona, Sui Juris (not to be confused with nor substituted with Pro
Se); and not a Statutory Person. (Exhibit A. Name Change)
Petitioner / Alleged Accused,

(Hereinafter Petitioner)

Official Notice is hereby served on the STATE OF MISSOURI SUPREME COURT/ IN THE CIRCUIT

COURT OF VERNON COUNTY, MISSOURI ; all Judicial Sub-Divisions; Officials; Agents; and

above named Plaintiff-all cases and Jurisdiction / Venue moved to Federal Court. All Matters,

Complaints, Traffic Tickets / Suits, Citations / Bills of Exchange/ Indictments (misrepresented as lawful

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warrants, etc.), must be filed with Federal Court, pursuant to Jurisdiction named hereinafter.

(Jurisdictional Challenge Exhibit B)

I.

JURISDICTION

Jurisdiction / Venue are hereby placed in one Supreme Court, pursuant to Article III Section 2 for The
United States Republic, and the several States, under the Constitution; Article V1; and reaffirmed by
obligatory Official Oaths.

“The Judicial Power shall extend to all cases, in law and equity, arising under this Constitution, the laws
of the United States, and treaties made, or which shall be made, under their authority;--to all cases
affecting ambassadors, other public ministers and consuls; --to all cases of admiralty and maritime
jurisdictions;--to controversies to which the United States shall be a party;--to controversies between one
or more states;--between a state and citizens of another state:--between citizens of different states;--
between citizens of the same state claiming lands under grants of different states, and between a state, or
the citizens thereof, and foreign states, citizens or subjects.”

In all cases affecting ambassadors, other public ministers and consuls, and those in which a state shall be
a party, the Supreme Court shall have original jurisdiction. In all the other cases before mentioned, the
Supreme Court shall have appellate jurisdiction, both as to law and fact, with such exceptions, and under
such regulations as the Congress shall make.

State Court Ousted of Jurisdiction. The defendant is required to file a copy

of the notice of removal with the clerk of the state court “which shall effect

the removal and the state court shall proceed no further unless and until the

case is remanded.” 28 U.S.C. §1447(d). No order by the federal court is

necessary to complete removal. Libhart v. Santa Monica Dairy Co., 592 F.2d

1062 (9th Cir. 1979). The removal is effected automatically by defendants

filing a notice of removal in the federal court, filing a copy of the notice in the

state court and giving notice to all adverse parties. 28 U.S.C. §1446(e). See

also 14C Wright, Miller and Cooper, Federal Practice and Procedure:

Jurisdiction 3d §3737 (1998).

COMES NOW, Federick- Joseph: Guenther , Ex Relatione FEDERICK JOSEPH GUENTHER. Natural
Person, In Propria Persona Sui Juris (not to be confused with, nor substituted by, Pro Se by unauthorized
hand of another). I am possessing Free-hold by Inheritance and Primogeniture Status; standing squarely
Affirmed, aligned and bound to the U.C.C., Organic Constitution, with all due respect and honors given
to the Constitution for the United States Republic, East America. Being born in America, who received
commandment from Yahweh to have sovereignty [dominion] over everything that swims in the waters,
that flies in the skies, and that creepeth upon the earth according to Genesis 1: 26, and also Genesis 1:27.

And was commanded to be fruitful, and multiply, and replenish the earth. Our sovereignty is worldwide

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and cannot be restricted or taken from us under any contract whatsoever, and can only be taken away in
Yahweh’s wrath. Yahweh the creator and founder, and the true possessor of all that is seen and also
unseen. Our dominion and inhabitation extended from Coast to Coast and sea to sea. I also have an
international treaty with the world which is a U.C.C. and Act of State.

Book of Treaties) the same as displayed under Treaty Law, Obligation, Authority as expressed in Article VI of the

Constitution for the United States for America (Republic):

CONGRESS DECLARES BIBLE
“THE WORD OF YAH"

PUBLIC LAW 97-280 OCT. 4, 1982

Public Law 97-280
96 STAT. 1211
97th Congress

Joint Resolution

Authorizing and requesting the President to proclaim 1983 as The "Year of the Bible"

Whereas the Bible, the Word of Yah, has made a unique contribution in shaping the
United States as a distinctive and blessed nation and people;

Whereas deeply held religious convictions springing from the Holy Scriptures led to the
early settlement of our Nation;

Whereas Biblical teachings inspired concepts of civil government that are contained in
our Declaration of Independence and the Constitution of the United States:

Whereas many of our great national leaders-among them Presidents Washington,
Jackson, Lincoln, and Wilson-paid tribute to the surpassing influence of the Bible in our
country's development, as in the words of President Jackson that the Bible is "the rock on
which our Republic rests";

Whereas the history of our Nation clearly illustrates the value of voluntarily applying the
teachings of the Scriptures in the lives of individuals, families, and societies;

Whereas this Nation now faces great challenges that will test this Nation as it has never
been tested before; and

Whereas that renewing our knowledge of and faith in Yah through Holy Scripture can
strengthen us as a nation and a people: Now, therefore, be it Resolved by the Senate and
House of Representatives of the United States for America in Congress assembled, That
the President is authorized and requested to designate 1983 as a national "Year of the
Bible" in recognition of both the formative influence the Bible has been for our Nation,
and our national need to study and apply the teachings of the Holy Scriptures.

Approved October 4, 1982.

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Il.
PARTIES

Plaintiffs

1. STATE OF MISSOURI, corporation established in the year SEVENTEEN NINETY-SIX
(1796), foreign to the organic MISSOURI state Republic; and foreign to the United States
Republic of East America.

2. CITY OF NEVADA POLICE AGENT in public and private capacity

THE CIRCUIT COURT OF VERNON COUNTY, MISSOURI, private corporation; foreign to
the United States Republic and all MISSOURI, VERNON COUNTY and CITY OF NEVADA
Employees; Agents; Officers; Contractors; Assignees, etc., being Plaintiffs, Claimants, or Parties
of Interest in the ‘Color-of-Law’ processes instituted by them, or any one of them, against
Frederick- Joseph: Guenther .

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4. Court Administrator for THE CIRCUIT COURT OF VERNON COUNTY, MISSOURI, Private
Corporation foreign to the United States Republic; and foreign to the organic MISSOURI
Republic.

Petitioner
Frederick- Joseph: Guenther , In Propria Persona, Sui Juris (not to be confused with Pro se)

I, Frederick- Joseph: Guenther , In Propria Persona, Sui Juris; Freehold by Inheritance with
Birthrights and protected and secured Inalienable Rights, makes with this NOTICE OF REMOVAL of
the unconstitutional Complaint — Summons / Ticket — Suit / Bill of Exchange / Action/ Indictments,
Booking Number MO109033J. Petitioner is with reasonable expectation that the Officers / Agents, and
Officials, holding any position of Public Trust, or political office, are prohibited, under Official Oath, under the
authority of The Law of the Land, from the use of the official position(s) or office(s) to violate the Constitution
for the UNITED STATES FOR AMERICA; and thus, by the abuse of authority, and the practice of superseding
their ‘limited’ jurisdictional powers, violate and abridge the Natural, Divine, Unalienable, and Secured Rights of
the People; terminating with the cause of damage to this Petitioner / Plaintiff.

Il.

CAUSE OF ACTION

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Affidavit of Fact and Affidavit of Rebuttal with Live Testimony by
General office of Executor for the Frederick Joseph Guenther,

Estate In regards to Fraudulant Ex Parte filed by Stephanie
Guenther|[Kimmell]

1. No. 11 (page 3 of 4 of the Ex Parte) placed or attempted to
place me in apprehension or immediate physical harm. That
on August first two thousand and nineteen at seven thirty six
in the evening I frederick joseph guenther texted Stephanie
Guenther that we “need to schedule a time for me to come
out to the farm to get my stuff Saturday.”

2. This was to just get my property(that which I have
purchased or was given to me as a gift, nothing of Stephanie
or her personally, as a believer in Yahweh and being married
for 25 years, and a doctor who helps people regain health, [
have never, nor will I have any ill intent with Stephanie the
mother of my sons and daughters) that I haven’t been
allowed to get since I was forcefully removed from my
home under duress three years previous.

3. I hope someday she will heal and regain a healthy attitude
with others again, but these acts are not moral just more
frivolous filings to discredit our court system and deprive me of
my right to property and defamation of my good name and
character causing my estate harm and damages.

4. A good name is rather to be chosen than great riches, and
loving favour rather that silver and gold (Proverbs 22.1).
Page 2 of 5 per the text, Stephanie even states my property is
still at the farm location” I’d love for your to clear out some
of your stuff’... acknowledging my property.

5. “Im sorry you’re being this way” Then he said “ it’s a real
shame , your forcing me to do things | don’t desire to
do....sorry in advance”. (amended page between page 3 of 4
and 4 of 4). I am sorry Stephanie can not work out in amical

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way(friendly). “forcing me means frederick joseph having
to take legal action for a simple matter for a remedy.

6. “I (Stephanie) took screen shots and sent them to my lawyer,
in case anything happens. Then I (Stephanie) sent them to
Travis Cole, the sheriff's deputy. He advised me to file a
report and request a restraining order.” I (frederick) have
never agreed to forfeit, abandon or give up any of my
property rights. These matters are not be resolved and I am
seeking legal remedy.

7. Stephanie Stated, “I am requesting this restraining order
because Fred has a very long history of coercion and control
in the family. Especially with me. He possesses the potential
for violent behavior. When he thinks someone is going
against his right control them - that’s the times’ that I’ve seen
it.

8. This is hear-say and I object to the faults actuations, all of
which unsubstantiated. Not in 25 years have there been
actuations.

9. “I (Stephanie) thought about having a brother of mine be
there if I gave some of the belongings to Fred >but I really
think that would be a volatile situation.

10. Again this is hear-say and I (frederick) object to the false
insinuation.

11.1 (Stephanie) hate writing this stuff....previous acts of
violence.

12. -forced sex.
13. -picking child up by ears and slamming him against wall.

14. -placing hands around child’s neck (but not squeezing) to get
obedience, raising fist at me at close range.

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I do not believe that Stephanie hates writing these type of
false actuations, in fact its her desire and she has studied how
to write and motivate people in a false way for her own
benefit.

We have never had forced sex; nor have I picked up a child
by the ears and slamming him against wall.

This never happened, I(frederick) never pick up any of my
sons or daughters by their ears, nor have I ever slammed a
son or daughter against a wall. But my wife pressured our
son to stated that and he stated he couldn’t even remember
what had happened or where.

Stephanie stated, “These things have previously been
reported, but I put them down to give an idea of my history
with Fred, and why I am requesting a restraining order.”

Stephanie stated, “Placing hands around child’s neck (but not
squeezing) to get obedience. These actuations have already
been found to be unsubstantiated per social services, raising
fist at me at close range.”

This is completely false, I have never nor would I ever. I was
raised with six sisters and was trained differently, being
taught never to never repond to the female gender with harm
in any way. However, Stephanie has hit me with closed fist
and has stated that to several people and have written an
affidavit stating the facts. See Affidavits

These things have previously been reported, but I put time
down to give an idea of my history with Fred, and why I am
requesting a restraining order.

As before, Stephanie has reported hear-say to manipulate the
court system to her benefit and it is false.

Number 12. I am afraid of Respondent and there is an
immediate and present danger of domestic violence to me or

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other good cause for an emergency temporary order of
protection because (describe).

‘His message: you’re forcing me to do things I don’t desire to
do sorry in advance’’; I feel like this is a threat, that he might
do something bad in the near future — he believes he can
control everyone and goes to all kinds of extremes when he
cant.

Again, these are instantiated and false hear-say. She was
even told if she didn’t want to be there, she didn’t even need
to be present, I was going to be coming to the farm with my
older sons to load up my property. Obviously, these are false
actuations, as stated before to discredit, defamation and harm
my relationship with my son’s and daughter’s.

Number 15. Committing or threatening to commit domestic
violence, sexual assault, molesting, or disturbing the peace of
Petitioner whenever Petition may be found.

Repeatedly unsubstantiated and false claim aiming only to
harm, defamation of character and my good name.

-entering the dweling of Petitioner located at (see notice
below). I have not entered or threatened to enter Stephanie’s
dwelling place. Another false statement. Note, Stephanie
came into my office, my place of labor the day I received the
Ex Parte, less than 20 feet from me while I was laboring with
my fellow man. Violating her Ex Parte, expressing by
entering into my place of work that she does not fear me at
all. Further, when asked to leave she refused and I had to call
911 and Nevada Police came to the office, and just before
they appeared, she stepped outside. This was witnessed by
John Pennington who did clerical work for me roughly
around 4:45pm, 15 mins early to pickup out sons’ and
daughters’. Plus she continued to text me.

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29. -entering onto the premises of the Petitioners place of
employment located at 1933 Pecan St. Deerfield, MO 64741.
I never entered or threated to do so, didn’t know Stephanie
even worked there or where- ever she worked or if she
worked. Another false statement.

30. Number 26. Order Respondent to participate in a court-
approved counseling program designed for batterers and/or

31. No consent or contract, reservation of all my right. There is
no injured party. I Object and do not consent.

32. See Recorded Text Messages by Frederick Guenther that
proves Stephanie is delusional and a great storyteller of lies
and deceit using the court without first hand knowledge to
create a subterfuge tactic to deny her ex-husband of his
belonging and right to his hard earned property.

Prayer (Remedy) of Relief
33. Restoration of all property rights, as first lien holder and
General Executor of the Frederick Joseph Guenther Estate.

34. Book of Numbers Chapter 30 verse 3-5, The Father has all
authoritative right and is the Head of the Family/Household
as the Ruler/Leader. Precept Ephesians Chapter 5.

The VERNON CIRCUIT COURT, MISSOURI is an unconstitutional, private corporation, not delegated
by Congress, under Article III, Section 2 of the Constitution; and the Public Servants do not, and did not
provide the “Due Process” protected and secured for the People, by the Amendments IV, V, VI, VIL
VII, IX, and X of the United States Constitution, to which the Judges and Officers in every State is
bound (by Official Oath) to support and to uphold. Any statutory regulation, ordinance, or laws of any
State, to the contrary, notwithstanding.

This allegedly - accused Petitioner believes that in accord with the Substantive Rights retained by the
Petitioner, notifying all parties of the Petitioner’s (Identification / Status) and that the Petitioner never at
any point, waives any Inalienable Rights including that of due process; and affirmed that any action be
adjudicated in a lawfully delegated jurisdiction and venue.

The Officers of STATE OF MISSOURI commanded that the Petitioner Pay Fines and Costs Imposed
under threat, duress, and coercion with a ‘man-of-straw’ / misnomer word, misrepresented as implying

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my name, and typed upon the Order / Instrument, and was improperly spelled, “FEDERICK JOSEPH
GUENTHER.: ” in ALL CAPITAL LETTERS. That misnomer and CORPORATE - NAME,
“FEDERICK JOSEPH GUENTHER..:” is clearly (an artificial — person / entity); is not me, the Natural
Person. That action is a deliberate grammatical error, intended for injury to me; and is clearly not of
consanguine relationship to me or to my nationality, in any form, truth, or manner, nor to my Family
Bloodline. This is a in violation of my secured rights to my name and nationality; a violation of
International Law; and a violation of the Obligations of the Officers of the Court; and a violation of their
fiduciary duties and Official Oaths to uphold and to support Article VI of the United States Constitution;
and thus, violating my Substantive Rights, and the Articles of Part 1 as follows:

“MAN/WOMAN have the right to a full and effective enjoyment of all human rights and fundamental
freedoms recognized in the Charter of the United Nations; The Universal Declaration of Human Rights;
And International Human Law.”

Article 5 of the Rights of Indigenous People
“Every Indigenous individual has the Right to a Nationality.”,
Article 15 of the Declaration of Human Rights (http//www.un.org/Overview/rights.html)

everyone has a right to a nationality. (2) No one shall be arbitrarily deprived of his nationality nor
denied the right to change his name.”

This Petitioner was forced under threat, duress, and coercion to sign and/or give verbal consent to all
contracts, documents, or agreements, including bonds, court recordings, etc to secure his freedom and
life” on the ticket / summon / suit/ complaint/ indictment No. 19VE-CV00461 Booking # MO109033J
and signed for the record; name, correct spelling of name.

Plaintiff/VERNON County Circuit Court is with the ‘want of jurisdiction’ by knowingly and
willingly conspiring (under a Color-of-Authority) to deny this Petitioner, Federick- Joseph:
Guenther , (after this Petitioner made a reservation of rights and stating for the record; name,
correct spelling of name, and national status) his Inalienable Rights, the right to a Name and
Nationality of his choosing, etc. The State / Judge / Accuser(s) alleged and assumed the
Petitioner of being a Corporate Ward-ship 13th Amendment Artificial Person / citizen, which
resulted in an unlawful arrest-of-rights, immunities and liberties; which is in direct
contradiction to, and a violation of, the Seventh (VII) Amendment of the Constitution for the
United States (Republic); violating Article VI of the Constitution, by way of violating a
violation of Article 15 of ‘The Universal Declaration of Human Rights’ of Nineteen Hundred
and Forty-Eight (1948) A.D. — General Assembly, United Nations; a violation of ‘The
Declaration of the Rights of The Child’ of Nineteen Hundred and Fifty-Nine(1959)
A.D(http://www.un.org/cyberschoolbus/humanrights/resources/child.asp); and violating
‘The Rights of the Peoples’; and that the Officers of THE STATE OF MISSOURI knowingly
committed ‘fraud’ against the Petitioner (Federick- Joseph: Guenther ) by abusing their
authority, in that they failed to correct a known violation; and did not aid in preventing said
such abuse of authority, while having (by law) the obligation to do so; and violated the Fifth
Amendment of The Bill of Rights of Seventeen Hundred and Ninety-One (1791) A.D.;
impeding the Peoples’ right to due process under the Law, and equal protection of the
Law, Article 1 Section 10 of The Constitution for The United States for America (Republic)

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which secures this Petitioner the right to contract and conspiracy to commit fraud against this
Petitioner and against the United States Republic.

IV.
CONCLUSION

. Itis asin for any group of people to violate the Constitutional Laws of a Free National
Government.

. The Delegates, possessing Free-hold by Inheritance and Primogeniture Status; standing squarely
Affirmed, aligned and bound to the U.C.C., Organic Constitution, with all due respect and
honors given to the Constitution for the United States Republic of East America. Being born in
America, who received commandment from Yahweh to have sovereignty [dominion] over
everything that swims in the waters, that flies in the skies, and that creepeth upon the earth
according to Genesis 1: 26, and Genesis 1:27. And was commanded to be fruitful, and multiply,
and replenish the earth. Our sovereignty is worldwide and cannot be restricted or taken from us
under any contract whatsoever, and can only be taken away in Yahweh’s wrath. Yahweh is the
creator, founder, and the true possessor of all that is seen and also unseen. In the second year of
the Independence of The United States for America, it was agreed to certain Articles of
Confederation and perpetual Union between the States of New Hampshire, Massachusetts Bay,
Rhode Island, and Providence Plantations, MISSOURI, New York, New Jersey, Pennsylvania,
Delaware, Maryland, Virginia, East Carolina, South Carolina and Georgia; wherein they did
declare that the style of the Confederacy shall be the United States for America.

. All parties to the Articles of Confederation of 1778 did also agree that Article LX shall set forth
the procedure for resolving a dispute brought before the Congress of the United States by a freely
associated compact State of the United States for America.

. All parties to the Articles of Confederation of 1778 did also agree that no Congress shall
thereafter alter Article IX of the Articles of Confederation unless it has received confirmation to
do so by every State in the Union (Article XIII of the Articles of Confederation).

. The United States, pursuant to an "Act" of the States sitting in Congress under the Articles of
Confederation of Seventeen Hundred and Seventy-Eight (1778) A.D., authorized a
Constitutional Convention for the purpose of forming a more perfect Union, to establish justice,
to insure domestic tranquility, to provide for the common defense, to promote general welfare,
and to secure the blessings of liberty, did ordain and established a Constitution for the United
States. The Constitution for the United States was declared to be a "revision" to the Articles of
Confederation of 1778 (REPORT OF PROCEEDINGS IN CONGRESS, Wed., Feb.21, 1787
[Journals of the Continental Congress, vol. 38]).

. The Constitution for the United States was established by the People of the United States for
America, and not by the States in their sovereign capacity (Jn reg Opinion of the Justices, 107 A.
673, 674, 118 Me. 544, 5 A.L.R. 1412) and was ratified by the People sitting in Convention of the

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Original 13 States of the United States for America (United States Constitution, VH: 1:1).

The Constitution for the United States is a Compact which constitutes a binding trilateral
Contract between the People, the freely associated compact States of the United States for
America, and the United States [e.g. Article 10 of the Bill of Rights to the Constitution of the
United States| (In reg Opinion of the Justices, 107 A. 673, 674, 118 Me. 544, 5 A.L.R. 1412).

By the wording of Article VI of the Constitution for the United States; the Congress is required to
review its legislation from time to time to determine if the legislation was made pursuant to the
provisions of that Constitution.

The parties to the Compact of the United States Constitution further agreed that the enumeration
in the Constitution of certain Rights shall not be construed to deny or disparage others retained
by the People (Article 9 of the Bill of Rights to the Constitution for the United States).

The parties to the Compact also agreed that the Powers not delegated to the United States under
the U.S. Constitution are reserved to the States or to the People (Article 10 of the Bill of Rights to
the Constitution for the United States).

On February 24, 1855; the Congress of the United States created the United States Court of
Claims. The Court of Claims was authorized to execute the mandates of Article LX of the Articles
of Confederation of 1778 and Article I of the Bill of Rights to the Constitution for the United
States (10 Stat. 612, sec. 1, sec. 7)

The Congress of the United States also enacted the "Bowman Act" of March 3, 1883 (22 Strat.
485) and the "Tucker Act" of March 3, 1887 (24 Stat. 505) to clarify the jurisdiction of the Court
of Claims. Under these Acts, either House of Congress may submit any claim or matter to the
United States Court of Claims for investigation and determination of facts. The Court was to
report its findings back to Congress for Congressional determination.

Notwithstanding the limitations imposed upon the United States Claims Court by P.L. 97-164
and its subsequent United States Court of Federal Claims by P.L. 102-572; the Congress of the
United States is barred by Article LX and Article XIII of the Articles of Confederation and by
Article I of the Bill of Rights to the Constitution for the United States to limit its investigations to
moneyed claims.

The continual refusal of the United States Congress to resolve the Petitions of Grievances that
were submitted to it, by the several States of the Union, violates the "Good Faith" agreement that
all grievances submitted would be expeditiously resolved as mandated by the Articles of
Confederation of 1778.

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Between the years of 1866 and 1868 (and other years); several states within the United States
known as "States" submitted Petitions to the Congress of the United States for Redress of
Grievances. These Petitions have passed from Congress to Congress for over one hundred years,
with the Congress refusing to take any action to resolve the disputes as required by Article LX of
the Articles of Confederation of 1778 and Article I of the Bill of Rights to the Constitution for the
United States. These Petitions challenged the procedure by which the Congress used to amend
the Constitution for the United States. The Amendments in question are the unlawfully - ratified
13", 14" and 15th Amendments (hereinafter referred to as the “Three Dead Badges of Law”).

‘No change in ancient procedure can be made which disrupts those fundamental principles,
which protect the citizen in his private right and guard him against the arbitrary action of the
government.” Ex Parte Young, 209 US 123.

The Constitution for the United States for America binds all judicial officers at Article 6,
wherein it does say, “This Constitution and the Laws of the United States which shall be made in
pursuance thereof, and all Treaties made, or which shall be made under the authority of the
United States, shall be the Supreme Law of the Land, and the Judges of every State shall be
bound thereby, anything in the Constitution or laws of any state to the Contrary, not
withstanding,” see Clause 2.

Black’s Law Dictionary 4" Ed. Defines “Law of the land”, - When first used in Magna Charta,
the phrase meant the established law of the kingdom, in opposition to the civil or Roman law. It
is now generally regarded as meaning general public laws binding on all members of the
community. Janes v. Reynolds, 2 Tex 251; Beasley v. Cunningham, 171 Tenn. 334. 103 $.W.2d
18, 20110 A.L.R. 306. It means due process of law warranted by the constitution, by the
common law adopted by the constitution, or by statutes passed in pursuance of the constitution
Mayo v. Wilson, 1 N.H. 53.

Clause 3, clarifies the scope of this requirement when it states that “...All judicial officers, both
of the United States and of the several states shall be bound to support this Constitution...”

The 5‘ Amendments require that all persons within the United States must be given due process
of the law and equal protection of the law.

The unconstitutional charges being applied to this Petitioner are not in pursuance of the
Constitution for the United States for America, wherein it does guarantee, and this Petitioner
does declare the equal protection of the right to “life liberty and the pursuit of happiness” in the
1** Amendment, which includes the right to travel as evidenced in positive law and_stare decisis,
to wit; Chicago Motor Coach v. Chicago 169 NE 221 “ the use of the highways for the purpose
of travel and transportation is not a mere privilege, but a common fundamental right of which the
public and individuals cannot rightfully be deprived”; Teche Lines v. Danforth, Miss. 12 So 2™
784, 787 “the right to travel on the public highways is a constitutional right”, Slusher v. Safety
Coach Transit Co., 229 KY 731, 17 SW 2D 1012, affirmed in Thompson v. Smith 154 S.E. 579
—“The right to travel_upon_the public highways and transport my property thereon, by
automobile is not a mere privilege, which may be permitted or prohibited at will, but a common

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right which one has to life, liberty and the pursuit of happiness” and the State’s application of
625 ILCS 5/et seq is “notwithstanding”, Article VI cl.2 Ibid.

The Petitioner claims full and equal protection of the Law in Marbury v. Madison 5 US 137 —
“The Constitution of these United States is the Supreme Law of the Land. Any law, that is
repugnant to the Constitution, is null and void of law.”

The unconstitutional charges being applied to the Petitioner are repugnant to the Constitution
because they deny a right established and guaranteed in the 1° 4th 5th. 6th, 7th, 8th, 9th, and 10th
Amendments, and in United States Supreme Court ‘Stare Decisis’ so noted above, where this
court has no authority to adjudicate contrary.

The unconstitutional charges under which the Petitioner is being forced to answer are non-
constitutional on their face and unconstitutional when applied to the Petitioner_because they do
not have an enacting clause or single subject title, thereby denying due process of law.

Due Process of law is not necessarily satisfied by any process which the Legislature may
prescribe. See: Abrams v. Jones 35 Idaho 532, 207 P. 724.

‘Due Process of Law in each particular case means such an exercise of the powers of the
government as the settled maxims of law permit and sanction; and under such safeguards for the
protection of individual rights as those maxims prescribe for the class of cases to which the one
in question belongs.” Cooley, Const. Lim. 441.

Due Process as defined in H. C. Black’s Law Dictionary, 4" Edition. “« Whatever difficulty may
be experienced in giving to those terms a definition which will embrace every permissible
exertion of power affecting private rights, and exclude such as is forbidden, there can be no
doubt of their meaning when applied to judicial proceedings. They then mean a course of legal
proceedings according to those rules and principles, which have been established in our systems
of jurisprudence for the enforcement and protection of private rights.”

“To give such proceedings any validity, there must be a tribunal competent by its constitution—
that is by the law of its creation—to pass upon the subject-matter of the suit; and if that involves
merely a determination of the personal liability of the defendant, he must be brought within its
jurisdiction obey service of process within the state or his voluntary appearance. Pennoyer v.
Neff, 95 U.S. 733, 24 L.Ed. 565.”

“Due process of law implies the right of the person affected thereby to be present before the
tribunal which pronounces judgment upon the question of life liberty, or property, in its most
comprehensive sense; to be heard, by testimony or otherwise, and to have the right of
controverting, by proof, every material fact which bears on the question of right in the matter
involved.”

“If any question of fact or liability be conclusively presumed against him, this is not due process
of law, Zeigler v. Railroad Co., 58 Ala. 599.

These phrases in the Constitution do not mean the general body of the law, common and statute,
as it was at the time the Constitution took effect; for that would seem to deny the right of the

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Legislature to amend or repeal the law. They refer to certain fundamental rights which that
system of jurisprudence, of which ours is a derivative, has always recognized. Brown v. Levee
Com’rs 50 Miss. 468.”

All orders or judgments issued by a judge in a court of limited jurisdiction must contain the
findings of the court showing that the court has subject-matter jurisdiction, not allegations that
the court has jurisdiction. In re Jennings, 68 II].2d 125, 368 N.E.2d 864 (1977) ("in a special
statutory proceeding an order must contain the jurisdictional findings prescribed by statute.")

In Interest of M.V., 288 Il].App.3d 300, 681 N.E.2d 532 (1st Dist. 1997). Without subject-matter
jurisdiction, all of the orders and judgments issued by a judge are void under law, and are of no
legal force or effect. In Interest of M.V., 288 Ill. App.3d 300, 681 N.E.2d 532 (1st Dist. 1997)
("Every act of the court beyond that power is void").

The Petitioner assert, Midland Coal Co. v. Knox County, 268 Ill_App.3d 485, 644 N.E.2d 796
(4th Dist. 1994) ("Special statutory jurisdiction is limited to the language of the act conferring it,
and the court has no powers from any other source”’...)

The “language of the act” the complainants confer upon “has no powers from any other source”
Midland Coal Co. v. Knox County, Ibid, no evidence on it’s face of valid law, as it lacks the
mandatory enacting clause,

That the purpose of thus prescribing an enacting clause — "the style of the acts" — is to
establish it; to give it permanence, uniformity, and certainty; to identify the act of legislation as
of the general assembly; to afford evidence of its legislative statutory nature; and to secure
uniformity of identification, and thus prevent inadvertence, possibly mistake and fraud. State v.
Patterson, 4 S.E. 350, 352, 98 N.C. 660 (1887); 82 C.J.S. "Statutes," § 65, p. 104; Joiner v.
State, 155 S.E.2d 8, 10, 223 Ga. 367 (1967).

“That the almost unbroken custom of centuries has been to preface laws with a statement in some
form declaring the enacting authority. The purpose of an enacting clause of a statute is to
‘identify’ it as an act of legislation by expressing on its face the authority behind the act.” 73

Am. Jur.2d, "Statutes," § 93, p. 319, 320; Preckel v. Byrne, 243 N.W. 823, 826, 62 N.D. 356
(1932).

That for an enacting clause to appear on the face of a law, it must be recorded or published with
the law so that the People can readily identify the authority for that particular law.

That “It is necessary that every law should show on its face the authority by which it is adopted
and promulgated, and that it should clearly appear that it is intended by the legislative power that
enacts it that it should take effect as a law.” People v. Dettenthaler, 77 N.W. 450, 451, 118 Mich.
595 (1898); citing Swann v. Buck, 40 Miss. 270.

This Plaintiff (a court of limited jurisdiction), lacks the power to act and have proceeded beyond
the strictures of the statutes, and that the statutes being applied are created from revised statutes
and codes of a foreign and unidentified source, as they fail to show from what authority in law
they exist, where they fail to show on their face, the mandatory enacting clause.

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Said revised statutes and codes fail to show a necessary and mandatory enacting clause on their
face, giving them lawful force and effect. Said revised statutes and codes are private codes and
statutes and are not law, do not compel this Petitioner to perform and do not apply to him, and
fail to show “authority for the court to make any order.” Levy. Industrial Common Ibid, Midland
Coal Co. v. Knox County, Ibid.

The Petitioner, demand all rights under the common law based upon the status as a matter of due
process of law and to determine what legal rights the Petitioner has in this court and what rights
will be denied, if any, to determine what jurisdiction the Plaintiff is attempting to apply to this
Natural Born Citizen.

The Petitioner is not subject to the jurisdiction of this Plaintiff.

This Petitioner has no contract with IN THE COURT OF CIRCUIT

VERNON COUNTY, MISSOURI, or with the State of MISSOURI; or with any other segment
of the United States for America that can grant jurisdiction over human rights; or over political,
economic, social and cultural rights for We The People.

The Petitioner is Original / Indigenous within the meaning of the description of the Draft
Declaration of the Inter-American Declaration of the Rights of Indigenous Peoples at Article 1
Definition

“In this Declaration Indigenous Peoples are those who embody historical continuity with
societies which existed prior to the conquest and settlement of their territories by Europeans...”

Real People are separate and distinct; alien to this administration; and have a separate and
distinct status from the administrators of the colonial occupiers of the land; as recognized in the
Declaration on Principles of International Law of Friendly Relations and Cooperation Among
States; wherein it does say under the Principles of Equal Rights and self determination of
Peoples (B5): “The territory of a colony or other Non-Self Governing Territory has, under the
Charter, a status separate and distinct from the territory of the State administering it...”

Colonial legislatures were divested of their legislative powers, and required to transfer
jurisdiction and all powers over the cultural rights of indigenous and minority peoples to those
peoples and prohibited from making any law that effects the rights of YHWH people to fully and
effectively enjoy their right to self-determination in Article 5 of the Declaration on the Granting
of Independence to Colonial Countries and Peoples, Adopted by General Assembly resolution
1514 (XV) of 14 December 1960. See Article 5 to wit: “Immediate steps shall be taken, in Trust
and Non-Self Governing Territories or all other territories which have not yet attained
independence, to transfer all powers to the peoples of those territories, without any conditions or
reservations, in accordance with their freely expressed will and desire...”

Colonial courts were divested of, and required to, transfer the judicative power and all power to
the people of this territory, ibid.

See ‘The American Declaration of the Rights and Duties of Man’ (Adopted by the Ninth
International Conference of American States Bogota, Colombia, 1948 at Article 5, Article 17,
Article 26)

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The United States for America is required to obey the requirements of the Declaration on the
Principles of International Law and to obey the principles of international law enumerated
therein.

The Vienna Convention on the Law of Treaties requires that the United States for America fulfill
its obligations incurred thereunder.

The United States for America is a member of the United Nations, and is bound by the Charter of
the United Nations to promote and protect the Rights of Indigenous Peoples.

The Declaration of the Granting of Independence to Colonial Countries and People UN MO
#1514 specifically required the United States for America to transfer all power to the peoples of
this land, and this specifically includes all legislative, executive and judicial powers.

The STATE OF MISSOURI through its commercial agencies, on the court record, prison records
and other misrepresented Instruments, has committed ‘fraud’ to accomplish what is called in
legal contemplation, “Capitis Diminutio Maxima”, which is that my natural name has been
murdered and I was resurrected as a non-natural, created entity subject to regulation and denied
the protections of national and international law. This constitutes Fraud and denies due process
of the law and the Freedom from the Practices and Policies of Apartheid described in the
International Convention on the Suppression and Punishment of the Crime of Apartheid Adopted
and opened for signature, ratification by General Assembly resolution 3068 (XXVIII) of 30
November 1973 at Articles], 2 and 3, and the right not to be compelled to perform under any
contract or agreement not entered into voluntarily, intentionally and knowingly.

Executive Order Number: 13107, 63, Federal Register, 68,991 (1998)- Implementation of
Human Rights Treaties, which states “It shall be the policy and practice of the Government of
the United States, being committed to the protection and promotion of human rights and
fundamental freedoms, fully to respect and implement its obligations under the international
human rights treaties to which it is a party including the ICCPR, the CAT and the CERD.”. IN
THE CIRCUIT COURT OF VERNON COUNTY, MISSOURI, by way of its Officers, violated
‘Due Process’ and, conspired to deprive rights of the Petitioner; and did neglect to prevent
deprivation of rights at Title 18, U.S.C. 241 and Title 18, U.S.C. 242.

Maine v. Thiboutot 448 US 1, 100 SCT 2502 — Officers of the court have no immunity, when
violating a constitutional right from liability. For they are deemed to know the law.

Note that the presiding judge, and any judge acting as organ of the court, is aware that 42 USC
1986 requires the person(s) adjudicating legal processes, to correct wrongs, and that their failure
to correct the wrongs that were addressed constitutes Fraud under Rule 9(b) of the FRCP, cross
referenced to 28 USC 1746, and that this Fraud constitutes a Perjury on the Oath of Office at 18
USC 1621, deprives us of rights, at 18 USC 241, and 242, Conspires to deprives rights at 42
USC 1985; is an extortion of rights at 18 USC 872, and is actionable under 42 USC 1983.

Judicial officers have no immunity when they have no jurisdiction over subject matter.

This court shall take mandatory Judicial Notice of the adjudged decision of the Supreme Court of
the United States of Bradley v Fisher 80 U.S. 335 (1871), 351,352 that officers of the court have

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no immunity when they have no jurisdiction over the subject-matter. And further in Bradley v
Fisher on page 352 and 352 is as follows:

"Where there is clearly no jurisdiction over the subject matter any authority exercised is a
usurped authority, and for the exercise of such authority, when the want of jurisdiction is known
to the judge, no excuse is permissible." This evidence of Bradley v Fisher 80 U.S. 335 (1871).

Either subject-matter jurisdiction exists, or it doesn't. Subject-matter jurisdiction has been
denied, it must be proved by the party claiming that the court has subject-matter jurisdiction as to
all of the requisite elements of subject-matter jurisdiction

“The use of the highways for the purpose of travel and transportation is not a mere privilege, but
a common and fundamental Right of which the public and the individual cannot be rightfully
deprived.” — Chicago Motor Coach vs. Chicago, 169 NE 22; Ligare vs. Chicago, 28 NE 934;
Boon vs. Clark, 214 SSW 607; 25 Am. Jur. (1°) Highways Sect. 163.

“The right of a citizen (or others similarly situated) to travel upon the public highways and to
transport his property thereon, by horse-drawn carriage, wagon, or automobile is not a mere
privilege which may be permitted or prohibited at will, but a common right which he has under
his right to life, liberty, and the pursuit of happiness.” — Slusher v. Safety Coac Transit Co. 229
Ky 731, 17 SW2d 1012, affirmed by the Supreme Court in Thompson v. Smith 154 S.E. 579.
(emphasis added)

“The right to Travel; The right to Mode of Conveyance; The Right to Locomotion are all
absolute Rights, and the Police cannot make void the exercise of rights. State v. Armstead, 60 s.
778, 779, and 781”

“The right to Park or Travel is part of the Liberty of which the Natural Person and citizen cannot
be deprived without “due process of Law” under the fifth Amendment of the United States
Constitution. Kent v. Dulles 357 US 116, 125:”

“State Police Power extend only to immediate threats to public safety, health, welfare, etc.,
Michigan v. Duke 266 US, 476 LED. At 449:”

“Where rights secured by the Constitution are involved, there can be no rule-making or
legislation, which would abrogate them. Maranda v. Arizona 384 US 4336, 125:”

“The claim and exercise of Constitutional Rights cannot be converted into a crime. Miller v.
Kansas 230 F 2"! 486, 489:”

“For crime to exist, there must be an injured party (Corpus Delicti) There can be no sanction or
penalty imposed on one because of this Constitutional right. Serer v. Cullen 481 F. 945.”

“If any Tribunal (court) finds absence of proof of jurisdiction over a person and subject
matter, the case must be dismissed. Louisville v. Motley 2111 US 149, 298. CT. 42. “The
Accuser Bears the Burden of Proof Beyond a Reasonable Doubt.”

“In light of my status the complaint against me must be brought before an Article III court as
per the rules governing the Treaty of Peace and Friendship of 1787.”

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“Lack of Federal Jurisdiction can not be waived or overcome by agreement of parties”.
Griffin v. Matthews, 310 F supra 341, 342 (1969): *

“Want of Jurisdiction may not be cured by consent of parties”> Industrial Addition
Association v. C.LR., 323 US 310, 313.”

“In Supreme Court case Murdock v. Penn. 319 US 105 “No state shall convert a liberty
into a privilege, license it, and attach a fee to it”.

See also; Shuttlesworth v. Birmingham 373 US 26 “If the state converts a liberty into a
privilege, the citizen can engage in the right with impunity.”

“Petitioner asserts “Where rights secured by the Constitution are involved, there can be no rule
making or legislation, which would abrogate them” Miranda v. Arizona 384 U.S. 436, 491.

“An unconstitutional statute has been held to confer no authority on, and to afford no protection
to, an officer acting thereunder.” Also, “Officers cannot be punished for refusing to obey
unconstitutional statute.” (CJS 16, sec. 101, p. 479) “Such laws are in legal contemplation, as
inoperative as though ’ they had never been passed or as if the enactment had never been written,
and are regarded as invalid or void from the date of enactment, and not only from the date on
which it is judicially declared unconstitutional. Such a law generally binds no one, confers no
rights, affords No Protections, and imposes no duties, and compliance therewith is unnecessary.”
(CJS 16, p. 469)

“No one is bound to obey an unconstitutional law and no courts are bound to enforce it.” — 16
Am Juris 2™, Sec 177 late 2d, Sec 256

“The State cannot diminish rights of the People.” — Hurtado v. California, 110 U.S. 516

“The state is a people and not the created form of government.” — Texas v. White, 7 Wallace,
700-74.

“The individual may stand upon constitutional rights. He is entitled to carry on his private
business in his own way. His power to contract is unlimited. He owes no duty to the state or to
his neighbors to divulge his business or to open his door to an investigation, so far as it may tend
to incriminate him. He owes no such duty or the state, since he receives nothing therefrom,
beyond the protection of his life and property. His rights are such as existed by the Law of the
Land, long antecedent to the organization of the state... He owes nothing to the public so long as
he does not trespass upon their rights.” Hale v. Henkel, 201 U.S. 43 (1905).

“The makers of the Constitution conferred, as against the government, the Right to be let alone;
the most comprehensive of rights, and the right most valued by civilized men.” — United States
Supreme Court Justice Brandeis in Olmstead v. Unites States (1928).

Based on customary international laws, the 5“ Amendment of the Constitution for the United
States for America, which guarantees due process of the law and Article IV of same Constitution
Section 1; Full Faith and Credit shall be given in each State to the public Acts, Records and
judicial proceedings of every other state...

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84. No person shall be denied the enjoyment of any civil or military right, nor be discriminated
against in the exercise of any civil or military right, nor be segregated in the militia or in the
public schools, because of religious principles, race, color, ancestry or national origin...

V.
RELIEF

1. The Enforcement of the following: The Divine Constitution and Bible of Yahweh; Must Live
the Life Accordingly; Article VI of the United States Constitution Republic / I, Frederick-
Joseph: Guenther , demand Due Process as protected by the Fifth (5"") and Seventh (7")
Amendments of the Constitution for the United States for America (Republic).

2. I, Frederick- Joseph: Guenther , demand this United States Supreme Court stop these abuses
of the colorable authority by the Plaintiff as it pertain to this Petitioner.

3. I, Frederick- Joseph: Guenther , demand if any CIRCUIT charges be found, let them be
placed upon the Plaintiffs.

4, I, Frederick- Joseph: Guenther , demand this United States Court view this Petitioner (in my
Proper Person) as a Living man on American soil (Natural Born of the Land), or any other
SLAVE TITLE or ‘nom de guerre’ imposed upon me for misrepresentation ‘Actions’ or other
acts of ‘Misprision’ that a misdirected society may “believe” to be true.

5. I, Frederick- Joseph: Guenther do not, under any condition or circumstance, by threat,
duress, or coercion, waive any rights Inalienable or Secured by the Constitution or Treaty, and,
hereby requests the United States Supreme Court to fulfill their obligation to preserve the
rights of this Petitioner and carry out their Judicial Duty in ‘Good Faith’ by ordering Plaintiff
to be brought before the Law to answer for their CIRCUIT and unjust actions.

6. Plaintiff Stephanie M Kimmell is being counter-sued for $400.00 for compensatory damages
and $2,175,000.00 for punitive damages for defamation/assassination of character and slander
against Frederick- Joseph: Guenther and COMMON LAW COPYRIGHT,

7. Permit injunction preventing illegal detention of Frederick- Joseph: Guenther

8. Permit injunction preventing any future alienation by Stephanie M. Guenther[Kimmell],
whereby she interferes with frederick-joseph guenthers’ right to rear his sons’ and daughters’
up to honor Yahweh, including injunction on any name changes.

9, Permit full possession [custody] of all offspring from this union of matrimony which Stephanie
M. Guenther [ Kimmell] walked away from (abandoned, breached), and alienated sons’ and
daughters’ from frederick-joseph guenther and their siblings.

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10. All other equitable relief entitled

TRIAL BY JURY OF MY OWN PEERS WAS, AND IS, DEMANDED

THIS NOTICE OF REMOVAL MUST BE REBUTTED IN 21 DAYS BY SWORN AFFIDAVIT
OR PLAINTIFF SHALL SUFFER DEFAULT

I declare under the penalty of perjury under the law of the UNITED STATES CODES
that the above is I declare under the penalty of perjury under the law of the UNITED
STATES CODES that the above is true and correct to the best of my knowledge and
honorable intent. Document is hereby executed without the united states in accordance
with 28 USC 1746.

Executed and sealed by the voluntary act of my own hand, this _2/ day of
, 2019.Day.

am a

 
  
  

entate Natural,Person, In Propria Persona: All
Rights Reserved; U.C.C. 1-207 / 308; U.C.C, 1-103
Minister Federick- Joseph: Guenther :, Natural Person, In Propria Persona:
Ex Relatione FEDERICK JOSEPH GUENTHER.: All Rights Reserved:
U.C.C. 1-207/ 1-308; U.C.C, 1-103
Not a Corporate Person or Entity, Misrepresented by Fraudulent Construct of ALL CAPITAL LETTERS
P.O. BOX 283
Nevada, MO [64772-9998]
Non-Domestic
A Natural Person, In Propria Persona, Sui Juris (not to be confused with nor substituted with Pro Se); and
not a Statutory Person. (Exhibit A. Name Change)

Authorized Representative Natural Person, In Propria Persona: All Rights Reserved, U.C.C. 1-207 / 308; U.C.C. 1-103

Cpa harp

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Notary Fe ial missouR
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My ores Expires July 4, 2022

 

 

 

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